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                                                                   Order Filed on July 25, 2023
UNITED STATES BANKRUPTCY COURT                                     by Clerk
                                                                   U.S. Bankruptcy Court
DISTRICT OF NEW JERSEY                                             District of New Jersey
Caption in Compliance with D.N.J. LBR 9004-2(c)
Friedman Vartolo LLP
1325 Franklin Avenue, Suite 160
Garden City, New York 11530                              Case No.: 23-14366-JNP
bankruptcy@friedmanvartolo.com
T: (212) 471-5100                                        Chapter: 7
F: (212) 471-5150
Attorneys for Secured Creditor Fay Servicing, LLC as     Hon. Judge:
servicer for U.S. Bank Trust National Association, not   Jerrold N. Poslusny Jr.
in its individual capacity, but solely as Trustee of
LSFl 1 Master Participation Trust                        Hearing Date: July 25, 2023 at 11:00am

In Re:

David D. Borges

Debtor(s)




                          ORDER VACATING AUTOMATIC STAY

         The relief set forth on the following page numbered two (2) is hereby ORDERED.




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        Upon the motion of Fay Servicing, LLC as servicer for U.S. Bank Trust National
Association, not in its individual capacity, but solely as Trustee of LS Fl 1 Master Participation
Trust, on behalf of its successors and/or assigns (hereinafter collectively "Secured Creditor"
and/or "Movant") under Bankruptcy Code section 362(d) for relief from the automatic stay as to
certain property as hereinafter set forth, and for cause shown, it is


       ORDERED that the automatic stay of Bankruptcy Code Section 362(a) is vacated to
permit the Movant to institute or resume and prosecute to conclusion one or more actions in the
court(s) of appropriate jurisdiction to pursue the movant's rights in the following:


        [x] Real property commonly known and more fully described as: 3214 Heritage Dr,
Vineland, NJ 08361


        ORDERED that the movant may join the debtor and any trustee appointed in this case as
defendants in its action(s) irrespective of any conversation to any other chapter of the
Bankruptcy Code; and it is further


       ORDERED, that the stay afforded by 11 U.S.C. §362(a) be, and is hereby, modified to
permit Fay Servicing, LLC as servicer for U.S. Bank Trust National Association, not in its
individual capacity, but solely as Trustee ofLSFl 1 Master Participation Trust, it's successors
and/or assigns, to pursue its rights under applicable state law with respect to the premises 3214
Heritage Dr, Vineland, NJ 08361; and it is further


        ORDERED that Movant is permitted to offer and provide Debtors with infonnation
regarding a potential Forbearance Agreement, short sale, deed in lieu, loan modification,
Refinance Agreement, or other loan workout/loss mitigation agreement, and to enter into such
agreement with Debtors without further order of the court, and it is further


        ORDERED, that the instant order is binding in the event of a conversion; and it is further

        ORDERED, that the Movant is granted reasonable attorney fees in the amount of
$750.00 and costs in the amount of $188.00; and it is further

        ORDERED, that the trustee be informed of any surplus monies resulting from the sale of
the collateral.
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       ORDERED, that the movant shall serve this order on the debtor, any trustee, and any
other party who entered an appearance on the motion.
